                     IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                         )
                                                  )
   JUST FOR YOU COACH, INC.,                      ) CASE NO. 19-81116-CRJ
   EIN: XX-XXX3094                                ) CHAPTER 11
                                                  )
       Debtor.                                    )

       ORDER ON EMERGENCY MOTION UNDER SECTIONS 105 AND 362
  OF THE UNITED STATES BANKRUPTCY CODE AND MOTION FOR CONTEMPT
   AND ON ORDER REQUIRING BANK INDEPENDENT TO SHOW CAUSE WHY
  CREDITOR SHOULD NOT BE HELD IN CONTEMPT AND SANCTIONS IMPOSED

        This matter came before the Court on April 18, 2019 upon the Debtor’s Emergency Motion

 Under Sections 105 and 362 of the United States Bankruptcy Code and Motion for Contempt

 (“Emergency Motion”) and upon the Order Requiring Bank Independent to Show Cause Why

 Creditor Should not be Held in Contempt and Sanctions Imposed (“Order to Show Cause”) issued

 by the Court. Appearing at the hearing were Deanne Smith, Esq., counsel for the Debtor, and

 Richard Blythe Esq., counsel for the Bankruptcy Administrator. Counsel for Bank Independent

 failed to appear.

          During the hearing, counsel for the Debtor reported that Bank Independent released the

 Debtor’s garnished funds and has agreed to pay $500.00 to compensate the Debtor for the fees

 associated with filing the Emergency Motion. Based upon the agreement of the parties, it is hereby

        ORDERED, ADJUDGED and DECREED that the Debtor’s Emergency Motion is

 MOOT and the Order to Show Cause is VACATED.

        Dated this the 19th day of April 2019.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge

 Order Prepared by:




Case 19-81116-CRJ11        Doc 15    Filed 04/19/19 Entered 04/19/19 11:31:09            Desc Main
                                    Document     Page 1 of 2
 Stuart M. Maples
 MAPLES LAW FIRM, PC
 Counsel for Debtor




Case 19-81116-CRJ11    Doc 15    Filed 04/19/19 Entered 04/19/19 11:31:09   Desc Main
                                Document     Page 2 of 2
